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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )          4:09CR3044
             Plaintiff,                    )
                                           )
      vs.                                  )
                                           )          ORDER
JOSE REFUJIO GUTIERREZ-                    )
GONZALES,                                  )
                                           )
             Defendant.                    )

      IT IS ORDERED that:

      1.     The plaintiff’s motion to continue change of plea hearing (filing 121) is
granted.

       2.    The hearing on the defendant’s anticipated plea of guilty is rescheduled
before the undersigned United States district judge to the 22nd day of October, 2009, at
the hour of 4:30 p.m., in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall, North, Lincoln, Nebraska.

       3.    For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      September 10, 2009.                      BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
